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                        Exhibit E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                       X
AUTOMOBILE CLUB OF NEW YORK, INC. d^/a
AAA NEW YORK AND AAA NORTH JERSEY, INC.,
                                                                  11 CIV 6746
                              Plaintiffs,                         (RJH)

                     V.                                           AFFIDAVIT

THE PORT AUTHORITY OF NEW YORK AND
NEW JERSEY,
                    Defendant.
                                                         X

STATE OF NEW YORK  )
                   )ss.:
COUNTY OF NEW YORK )

       MICHAEL FABIANO being duly sworn deposes and says:

       1.      1 am the Chief Financial Officer for The Port Authority of New York and New

Jersey (the "Port Authority") and I make this affidavit in opposition to plaintiffs' application for

preliminary injunction and in support of the Port Authority's motion to dismiss. I am fully

familiar with the facts and figures set forth in this affidavit. This affidavit sets forth the actual

and projected financial data for the period 2007 - 2020 for the Interstate Transportation Network

("ITN"), which shows that the ITN has been and will be operating at a deficit even with the toll

increases when the cost of operations and allocated expenses, direct payment of capital

expenditures and debt service allocated to the Port Authority's Consolidated Bonds issued for

capital expenditures and the private financing of the Goethals Bridge replacement project, and

payments into the General Reserve Fund required as a result of the issuance of such

Consolidated Bonds and private financing, in each case for the ITN are taken into account.
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       A) Description Of The Interstate Transportation Network And An
          Overview Of Its Capital Investment Needs

       2.       The Port Authority owns, operates and maintains the ITN which consists of four

bridges (George Washington, Bayonne, Goethals and Outerbridge Crossing), two vehicular

tunnels (Holland and Lincoln), the Port Authority Trans-Hudson rail system ("PATH"), three bus

terminals (Port Authority Bus Terminal, George Washington Bridge Bus Terminal, the Journal

Square Bus Terminal), and the Trans-Hudson Ferry Service (in which the Port Authority has

made significant capital expenditures for terminal development). The Port Authority does not

receive tax revenue, making its toll and fare structure the primary means of funding the region's

critical ITN.

       3.       Most of these facilities are over a half-century old. During 2010, the bridges and

tunnels handled over one-hundred and twenty-one million vehicles. The bus terminals had 3.3

million bus movements serving 74.6 million passengers. The PATH system served 73.9 million

passengers on an average of 247 thousand passengers per weekday. The progressively higher

volumes of traffic and heavier weight of vehicles using the bridges and tunnels results in the

need for more frequent capital repairs.      The agency infrastructure now requires significant

ongoing maintenance and regular capital investment to sustain operational safety and a state of

good repair. The ongoing PATFI safety program includes installation of improved tunnel and

station ventilation systems, emergency access/egress stairways and additional standpipe systems.

Port Authority investment in the George Washington Bridge Bus Terminal will include amounts

to build new bus platforms and a new passenger waiting area. The Port Authority Bus Terminal

and Journal Square Transportation Center will receive investment for state of good repair

projects, security enhancements and rehabilitation.
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       4.      Over the next ten years, the Port Authority must begin work on critical

infrastructure projects in order to safely support future transportation needs on the ITN. During

this period, the Port Authority is planning to expend $10,786 billion on capital improvements to

maintain the ITN.

       5.      The $10,786 billion Prelhninary Capital Plan for the ITN facilities for 2011-2020

is based on projected needs for capital expenditures over the next ten years. This plan is

preliminary since it has not yet been approved by the Port Authority's Board of Commissioners

and subjected to the required gubernatorial review. A copy of the Preliminary Capital Plan is

annexed hereto as Exhibit "A."

       6.      The planning process for developing the proposed ten-year capital plan is based

on a number of factors including incorporating the existing and future capital projects to support

the ITN's facilities, determining the agency's capital capacity based on projected sources and

uses of funds, and the prioritization of projects. The cover page of Exhibit "A" is a summary of

capital expenditures by ITN facility over the 2011-2020 period. Pages 1-10 of Exhibit "A"

provides a line item detail of capital expenditures by ITN facility, project number, project title

and dollar amount.

       7.      The following are major highlights of the projects planned for the ITN within the

Preliminary Capital Plan for 2011-2020.

               (a) The George Washington Bridge was opened in 1931. Its suspender ropes

                     have never been replaced and have reached the end of their useful life. The

                    Triboro/Robert F. Kermedy Bridge, The Bronx-Whitestone Bridge and the

                    Verrazano-Narrows Bridge were all built after the George Washington Bridge

                     and have had some or all of their suspender ropes replaced. The total cost of
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            replacing the suspenders is more than one biUion dollars of which $544

            million is planned through 2020 (see Exhibit "A", p. 6, CB04-207 - $12.3

            million; p.7, project CB04-319 - $531.7 million).

         (b) The Bayonne Bridge over the Kill Van Kull will be rehabilitated to increase

            its vertical clearance to accommodate shipping and to meet modern highway

            and structural design standards. The bridge, which has a 151-foot air draft

            (the distance from the water's surface to the underside of the bridge's

            roadway), already presents a navigational challenge to some ships. Raising

            the bridge will permit navigation by the large ships which will transit through

            the Panama Canal after its expansion in 2014. This is necessary to maintain

            the competitiveness of the metropolitan region's marine terminals and ports

            and simultaneously permits modernization of the structure. The total cost of

            the project is more than $1.28 billion (see Exhibit "A", p.8, projects CB06-

            087 - $32.1 million and CB06-I02 - $1,246 billion).

         (c) The Goethals Bridge Modernization program will replace the existing

            structure, which is functionally obsolete with a new six-lane bridge. The Port

            Authority will be expending $294 million for planning and construction (see

            Exhibit "A", p.8, projects CB07-103 - $11.9 million; CB07-137 - $176.2

            million and CB07-145 - $105.9 million). That the balance of the cost of this

            program of approximately $1.37 billion will be financed by the Port Authority

            through a private financing arrangement rather than the issuance of

            Consohdated Bonds.
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               (d) The Lincoln Tunnel Helix was constructed in 1937 and is functionally

                  obsolete and planning for its replacement must begin within the ten-year plan.

                  The Port Authority will be expending $116 million in the planning effort

                  (Exhibit "A", p.6, project CB03-254 - $116.3 million). The Lincoln Tunnel

                  access roadway infrastructure projects will total $1.8 billion (3 projects.

                  Exhibit "A", p. 6, CB03-TBD).

               (e) PATH will have a total of over $3,057 billion in expenditures for capital

                  improvements and safety (Exhibit "A", cover sheet and pp. 1-4).

               (f) The Preliminary Capital Plan for 2011-2020 shows numerous other capital

                  projects that support life, safety and security as well as a state of good repair

                  in the ITN. The total investment of capital is reflected on page 10 of the

                   Preliminary Capita! Plan is $10,785,696,000 (Exhibit "A").

       B) The Cumulative Cash Flow Analysis for the 2011-2020 Period
          Based On The Preliminary Capital Plan and Projected Revenues
          and Expenses Shows a Deficit

       8.      A cash flow analysis summarizing the sources of revenues generated by the ITN

and where those funds are used is annexed hereto as Exhibit "B". This analysis includes in

addition to the cost of operations, the allocated expenses, direct payment of capital expenditures

and debt service allocated to the Port Authority's Consolidated Bonds issued for capital

expenditures and the private financing of the Goethals Bridge replacement project, and payments

into the General Reserve Fund required as a result of the issuance of such Consolidated Bonds

and private financing, in each case for the ITN. Plaintiffs have failed to take into account the

impact of these categories of expense in their characterization of the ITN's finances.

       9.      The allocation to the General Reserve Fund is provided for in bi-state legislation

adopted in 1931. Pursuant to such legislation, an amount equal to 10% of the par value of such
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of the Consolidated Bonds issued for the ITN and the private financing of the Goethals Bridge

replacement project must be deposited into the General Reserve Fund from surplus revenues.

The continued maintenance of the General Reserve Fund is an important component supporting

the Port Authority's sound credit ratings.

        10.    The summary of cash flow analysis (Exhibit "B") sets forth in the first column a

description of the categories of funds comprising the cash flow analysis which are defined as

follows:

               a) Revenues are all cash generated from activities of the ITN facilities including

                   tolls at the tunnels and bridges, fares from PATH, rentals from lease

                   agreements at the bus terminals, percentage rentals from bus departure fees,

                   concession fees, advertising and parking;

               b) Expenses are direct facility operating expenses for the operation, maintenance

                   and security of the ITN Facilities. These expenses also include allocated costs

                   that represent the cost of providing general and administrative services for the

                   benefit of the entire agency.

               c) Forecasted Revenues and Expenses:

                       i)     Forecasted Revenues for 2011-2020 are developed by the line

                               departments utilizing various financial metrics.      The revenue

                               projections for both the cash and cash/debt analysis (Exhibits "D"

                               and "E") include the new toll and fares structure approved in

                               August 2011 and a CPI increase in 2018. Facility traffic over the

                               next 10 years is forecast to increase an average of 0.6% (less than
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                          1% annually) at the tunnels and bridges with an average annual

                          increase of 5.3% for PATH,

               ii)        Forecasted Expenses for 2011-2020 were developed by line

                          departments based on historic costs, economic conditions,

                          affordability and the ability to effectively manage expenses.

                          Expenses reflect a modest annual growth of 2.7%.

         d)    Net Revenue is gross operating revenues less operating and maintenance

               expenses, and allocated expenses.

         e)    Capital Expenditures Paid With Cash is the amount of capital

               expenditure to be paid with cash on hand.

         f)    Grants are state and federal funding received in support of a capital

               project which reduce the amount of allocated cash to be paid for the

               project.

         g)    Cash Balance is the net revenues remaining after the payment of cash for

               capital projects.

         h)    Current Interest Payments/Current Principal Payments are the debt

               service payments on the tax exempt Port Authority Consolidated Bonds

               issued prior to December 31, 2010 solely for the ITN. At its most basic

               level, the Port Authority can identify which Consolidated Bonds are issued

               for the ITN because these bonds are tax exempt whereas the Consolidated

               Bonds for the World Trade Center are federally taxable and the

               Consolidated Bonds issued for aviation and marine terminal projects are

               subject to the federal alternative minimum tax.
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              i)      Debt Service on New Debt represents payments on future outstanding

                      Consolidated Bonds issued for the ITN during the period 2011-2020. The

                      average interest forecast for new Consolidated Bonds is 5.75%o.

              j)      GB DBFM payments (Goethals Bridge Design, Build, Finance,

                      Maintain) represent the Port Authority's debt service payments made with

                      respect to the private financing.

              k)       Reserve Requirements is an allocation to the General Reserve Fund in

                      an amount equal to \0% of the Consolidated Bonds issued for the ITN and

                      the private financing of the Goethals Bridge replacement project.

        11.   For the four-year period from 2007-2010, the ITN generated actual net revenues

of $1,193 billion, but after deducting direct payment of capital expenditures and debt service

allocated to the Port Authority's Consolidated Bonds issued for capital expenditures and the

private financing of the Goethals Bridge replacement project, and payments into the General

Reserve Fund required as a result of the issuance of such Consolidated Bonds and private

financing, in each case for the ITN, the ITN showed a loss of $636 million (Exhibits "B" and

"C").

        12.   The Port Authority generally issues 30-year tax exempt Consolidated Bonds to

finance its ITN capital projects. The use of a mixture of debt and direct payment of capital

expenditures is an efficient way to finance these projects as evidenced by a comparison between

the all cash method and the 50%o cash (direct payment) / 50%o debt method as shown in the cash

flow analysis in Exhibits "D" and "E". Assuming the Port Authority paid $10,786 billion in ITN

capital expenditures identified in Exhibit "A" with the all cash (direct payment) method, the ITN
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cash flow to the Port Authority at the end of 2020 would result in a loss of $2,854 billion

(Exhibits "B" and "D").

       13.     The projected analysis, based on payment of ITN capital expenditures by means

of 50%) cash (direct payment) / 50%o debt, using the identical amount of revenues, expenses, net

revenues, current interest payments, current principal payments and GB DBFM payments

provides $5,393 billion in cash payments. The balance of $5,393 billion of the $10,786 billion is

being financed through the issuance of Consolidated Bonds which are.repaid over a 30-year

period and the private financing of the Goethals Bridge replacement project. The spreading of

these payments over 30 years reduces the net loss at year end 2020 to $51 million (Exhibit "B"

and "E").

       14.     The net projected loss of $51 million in the ITN by 2020 includes the toll and fare

increases approved by the Board of Commissioners in August 2011. The cash flow schedules

clearly demonstrate that every dollar of the toll and fare increase is going back into the capital

improvements planned for the ITN.

       C) The Necessity of a Toll and Fare Increase For Maintaining the ITN
          Over the Next Ten Years Was Presented to the Board of
          Commissioners.

       15.     As the Chief Financial Officer, I presented the overall capital plan supporting the

necessity of a toll and fare increase to provide for a ten-year agency-wide capital plan totaling

$25.1 billion to the Board of Commissioners at its August 19, 2011 Meefing. This overall capital

plan includes the $10,786 billion for the capital improvements to the ITN. The ITN capital plan

budget is approximately 43%. of the Port Authority's overall capital plan budget for the next ten

years. A transcript of my presentation to the Board of Commissioners is annexed hereto as

Exhibit "F".
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        D) The Plaintiffs Have Not Suffered Irreparable Harm By Paying The
           Increased Tolls

        16.    Approximately 78.9% of the vehicles using tunnels and bridges in the ITN have

E-ZPass®, and only 21.1% pay cash. There are various ways in which the Port Authority could

refund the increase in the unlikely event the Plaintiffs prevail. For example, the Port Authority

could credit the E-ZPass® users' accounts and offer discounts to cash users or offer discounts to

all users for a specified period of time.

        17.     By contrast, if an injunction is granted and the tolls and fares are rolled back, the

Port Authority has no way of recouping these monies if it ultimately prevails. The loss of funds

will have a substantial impact on the Port Authority's current and future ability to make the

necessary capital improvement to the ITN.

        E) Plaintiffs' Characterization With Respect to Profitability of the ITN
           Is Deeply Flawed

        18.     Plaintiffs rely on a press release and portions of the Port Authority's 2011 Budget

for their claims that the toll increase is excessive and unreasonable. The press release discusses

various economic factors affecting the overall operation of the Port Authority. It references the

$11 billion needed to rebuild the WTC site, but nowhere states that the rebuild is being funded

by the toll and fare increase, which it is not.

        19.     Plaintiffs' contention that the purpose of toll and fare increases is to fund the

World Trade Center is a confection that is flatly contradicted by the facts since the Preliminary

Capital Plan and the Cash Flow Analysis 2011-2020 clearly shows that there is no excess money

in ITN, let alone revenues sufficient to fund the World Trade Center redevelopment. All of the

revenues generated by the toll and fare increases are being used for ITN expenses.

        20.     Plaintiffs mistakenly allege in paragraphs 40-41 of the Complaint that the

revenues net of expenses of the ITN, which they presumably took from the 2011 budget annexed


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as Exhibit "K" to their Order to Show Cause, yield $484,353,000 which is "sufficient to pay for

the projects funcfionally related to the ITN." Ms. Genovese's affidavit makes a similar incorrect

assertion in paragraphs 17-18 based on figures taken from the operating statement of the 2011

budget.

          21.   These characterizations fail to take into account the annual allocated expenses,

direct payment of capital expenditures and debt service allocated to the Port Authority's

Consolidated Bonds issued for capital expenditures and the private financing of the Goethals

Bridge replacement project, and payments into the General Reserve Fund required as a result of

the issuance of such Consolidated Bonds and private financing, in each case for the ITN. The

actual figures for the period 2007-2010 as noted on Exhibits "B" and "C" show the ITN was

operafing at a deficit of $636,000,000.

          22.      In summary, the ITN does not generate excess cash that is supporting the

World Trade Center redevelopment. In fact, as the schedules annexed hereto show, the ITN

operates at a deficit and will continue to operate at a deficit even with the toll and fare increases.

The Port Authority must consequently find revenue from other sources to support the ITN.




                                                           / ^ -   ..^yt   <U-i^ii/>-^
                                                                   MICHAEL FABIANO
Sworn to before me this
 • ^ day of November 2011

> T ^yt<i^s>^..^^4dM4
    ^<
Notary Public
        KATHLEEN GILL MILLER
     Notary Public, State of New York.
             No. 02MI5014338
      Qualified in Westchester County •
   Commission Expires on July 15,2QZ5




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                         EXHIBIT A
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                                                                                       The Port Authority of New York and New Jersey
                                                                 Interstate Transportation Nework - Based on Preliminary 2011-2020 Capital Plan - 1 0 / 2 7 / 1 1
                                                                                                        ($ in millions)

                                                                 2S1X          2Q12.           2Q13           2&14           2Q15           2Q1&           2917         2Q19         2012         2020     2011-2020
PATH:
CR02 - PATH                             $                            301   $      259      $     270      $     243      $     268      $     337      $     308    $     235    $     210    $     104    $       2,534
CR08 ' PATH Safety                                                    92           86              52            40             30             36             48           42           45            13             483
CR21 - Journal Sq. Tranportatron Center                                9            9               8             7              3              0              2           -            -              1              39
PATH Total                                                          403           354            329            291            301            374            358          276          255          117
                                                                                                                                                                                                           ^^^    3, 057

T unnels, Bridges & T e r m i n a l s ( T B & T ) :
CB02 - Holland Tunnel                                                24            26              29             47             44              43            15           13           27           35             305
CB03 - Lincoln Tunnel                                                40           403             429            455            438             383            23           20           36          130           2,357
CB04 - GW Bridge                                                     46            73             122            162            157             233           224          198          241          255           1,712
CB06 - Bayonne Bridge                                                  8            15             21            109            214             280           316          266           84            2           1,316
CB07 - Goethals Bridge                                               22            37              67             64             31              22            74           38            2            2             358
CB08 - Outerbridge Crossing                                            3             7             16             24             20              15             6            6           24           31             152
CB48 - GW Bridge Bus Station                                          10           35              37             10              8               2             2            3            5            7             117
CT06 - Port Authority Bus Terminal                                   35            32              42             63             51              46            51           23           30           22             393
T B & T Total                                                       188           627            762            934            963           1,024           711          568          449          485
                                                                                                                                                                                                            "^    6,710

Ferry
CH02 - Ferries                                                        10               2              3              3              3              3           -           -            -            -               24
Ferry Total                                                           10               2              3              3              3              3          -           -            -            -                24
                                                                                                                                                                                                           =
C a p i t a l I n r r a s t r u c t u r e Fund ( C I F ) :
CF92 - CIF                                                           100           -              -              -              -               15           220           220          220          220            996
CIF T o t a l                                                       100           -              -              -              -                15           220          220          220          220            996

I n t e r s t a t e Transp. N e t w o r k Total              $      700    $     983       $   1,095      *   1,228      $   1,266      $    1,415     $    1,289   $   1,064    $     924    $     822     *    10,786




Dated: 10/27/2011
                                                                                                                                                                                                                           Case 1:11-cv-06746-RKE-HBP Document 151-5 Filed 08/21/15 Page 14 of 48
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                                               The Port Authority of New York and New Jersey
                                  2011-2020 Spending Schedule - I n t e r s t a t e Transportation Network - 1 0 / 2 7 / 1 1
                                                               ($ in thousands)




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                                               The Port Authority of New York and New Jersey
                                  2011-2020 Spending Schedule - Interstate Transportation Network - 1 0 / 2 7 / 1 1
                                                              ($ in thousands)




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                                                                                                         The Port Authority of New York and New Jersey
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                                                                                                                        ($ in thousands)

                    Facilitvj                           -;Ptojert Title                        j.Categorv   Stage               2012 .J                                                           JlO^'rU     :2oi8 ^ i                       ; :JI011-3020 ,
                            ^CR02-S24 - REPLACE ADA ELEVATOR - JSTC 9&10 U TOTAL)              SSGR                                                           li'in        1,897                                                                         •1,232
                                CR02-527 - INSTALL NEW IN-GROUND LIFTS HARRISON CAR Ml SGR                                                       1,068
                                CR02-528 - REPLACEMENT OF COMMUNICATIONS UNlrJTERRUP" SGR
                            1CR07-539-REPLACEMENT OF TBACKSIDE CIRCUIT BREAKERS SGR                                                                                                                                                                    10, (MO
                            ICR02-531 - HCMF ROTOCLONE REPLACEMENT AT TRACK S                   SGR                                                                        1,9M                                                                          3,164
                            jCR02-53'l - REPLACE STIEL DOORS AT MORTON ST SHAFT                 SGFT
                            1 CRoi-SaS - SCADAPROGRAMMABil LOGic"cONm6ilEMWJD SGlT                                                                                                                                                                       JiOS^
                            iCR02-S36 - PA-S OVERHAUL PROGRAM                                                                                                                                                                        21,991           111.392
                            [CR02-545 - REPlACEMEffT OF ATS EQUIPMENT                                                                                                                                                                                    3.S3S
                            1CR02-552 - TUNNEL MAIN JUNCTION BOX REHABILITATION
                            (CR02-5S7 - REPLACEMENT OF 650V DC 2.000KCMIL CABLES IN SGR                                             1,276        1.196        1,259        1.269
PATH                        ^CR02-561 - HACK BRIDGE TIE REPLACEMENT
 PATii'                     ycXoMsT^SUBSWroNltTpROPERTYAa^J^^
 PATH                       ,CR02-570 - HARRISON STATION PARKING LOT                                                                             5,449
PATH                        ICR02-572-SWnCHING STATION »10 UPGRADE-HARRISON, KSGR                                                                1,037
IPATH                       'CR02-573 - PUBUC SAFETY 800 MHZ EOACS SIMULCAST TRUNK SEC                                                                                                                                                                   3,180
                                                                                                                      aOD,S57    158,740                                268,354       337,436
|PATH                                    • TUNNEL EMERGENCY VENTILATION FAN BLADE REN SGR                           '~™™"'392       1,013                                                                                                                1.404
.'PATH                          CRD8-W1 - WASHINGTON STREET EMERGENCY EXIT
PATH                            CROS-051 - TRAIN CONTROL CENTER                                                        17,830       8,269 i                                                                                                            26,099
PAnT                            CR08-060 - EXC PL VENT- TUNNEL BARRIER DOOR INSTAa                                                                                                                                                                       2,447
 PATH'"                     [CR08-061 - SOC 2ND a JSQ, IPDVR & FIBER HOBAN/JSTC                                                       343
PATH"                       ICHOe-066 - EXCHANGE PLACE LAND SIDE SECURITY                                                           2,786                                                                                                                3,290
'PATH*                      t cRO e^M -'JSTc''KAR'DEN!NG'a'pHYSICAL P R O ^ T T O N "                                             ""2','3a9"                                                                                                             4,073
PATH"                       [CR08-078 - FLOODGATE AT TUNNEL A,B,E,a F-CONSTRUCT                                                                                            1,362        9,322        19,357      30.109    7,937 1                    "l'i8"60O
PATiT                       1CR08-079 - TUNNEL MinGATION                                                                           43,039                                 21,713       22,282 j      19,491      14,396   34,248     10,471           253,759
PATH                            CR08-O81 - EXCHANGE PLACE WATERSIDE PROTECTION                                                      1,497 i
PATH*                           CR0fl-OB5 - INSTALL CBR DETECTION © PATH STATIONS
PATH "                          CR08-e86 - HCMF - SECONDARY ROADWAY
PATH '                      'CR08-0B7 - UPDGRADE BADGING                                                                              409
PA™                         t S 0 8 ^ 8 ^ T N T E I ^ f E D T E a ) R T T Y SYSTEMS S GUI
PATH "                      ICR08-091 - CCTV S ACCESS CONTROL UPGRADES (33RD/HOB/P. SEC                                             5,713 ;                                                                                                            19,063
I PATH"                     ,CR084M2 - PURCHASE / INSTALL 8O0MHZ FREQUENCY CONVER SEC                                   2,462       1,369 I                                                                                                              3,831
jPArir                      1CR084394 - REPLACEMENT OF VERINT VIDEO SYSTEM                                                          1,298 ;                                                                                                              1,298
jPATH                       1CR084195 - INSTALL VHF RADIO HEADEND EQUIPMENT AT PTCl SEC                                                                                                                                                                  1,716
                            ICR08-096 - INSTALL NEW LENEL ACCESS CONTT^OL AND CCTV ;^SEC                                                                                   2,465                                                                         5,258
&
•PATH                      'T^08^'7''-''AbDrTTO(MrvHF A'NTE'NNAS A N D B I ^ E S T A T I O N S / SEC '                                                                                                                      302       1,430 •           T732
JPATH'                          CR08-098 - CCTV INFRASTRUCTURE UPGRADE THROUGHOUT Al SEC                                                                                                                                                                736
"PATH'                          CR08-099 - ENABLE WIRELESS CCTV FOR EMERGENCY RESPONI SEC                                                                                                             2,687                                            10.457
PATH'"                          CROa-lOO - UPGRADE OF UNIRED COMMUNICATIONS NFTWORI SGR                                             1,765 I                                                                                                              5,520
'PATH'"                         CR08-101 - CCTV AND ACCESS CONTROL - 9TH, 14TH, 23RD           [SEC                                                                                                               4,306                                 9,121




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                                                                                                                                          ($ in thousands)

H>-^^%'Department-"^tt^^'. Fafllity • f i , ^ . ' .   L , „ . u l l J ' - Project TiHe _;:• > M ^ ' •-; ! , ; , ; •, • Category   Stage   >-J I D l l - ; i ' ^ • B. E l O l l , ; ^ - : . . , ^ 0 1 3 . , , , ; _ ^ j r , 2 0 i 4 - ^ =   = 2 0 1 5 - H       J™,. 3016 ;._;,, r ; _ , t M i 7 ~ ; - ; - j - ' i ' - , 2 0 i B , . i : : . [ , . , „ 7 0 i 9 _ ' i   •;• -2020 •• ..   2011-2020 ,
.Tunnels Bridges 6. Terminals B03         CB03-249 - CMWP - NY PRIORITY REPAIRS ON BUS RAMPS                              SGR        4                     15                                                                                                                                            -      j                  • I                                                            15
iTuniiels Bridges 8. Terminals B03         CB03-;52 - LT ACCESS CONTROL SYSTEM ENHANCEMENT                                SEC        3                   321                     938
                                                                                                                                                                                                          -
                                                                                                                                                                                                       2,772                    3,456
                                                                                                                                                                                                                                                          -                                                                        •                                                          7,487
ilunnels Bridges & Terminals B03           CB03-253 - UPGRADE LIFE SAFETY MONITORING SYSTEM                               SGR        2                   170 1                   418                   1,073                    i,'79r                 — — - — ^                                                                                                                              3,454
sTunnels Bridges 8 Terminals B03           CB03-2S4 - REPIJ^CEMENT OF HELIX (POST-PLANNING AND COr                        SGR        P                                                                                                                         -                                                j                  •      i             16,291               99,993         116,284
i Turin els Bndges 8. Terminals B03        CB03-258 - REPLACEMENT OF NEW JERSEY FEEDERS-SOUTH TL                          SGR        3                                         1,562
                                                                                                                                                                                                         -
                                                                                                                                                                                                       4,439
                                                                                                                                                                                                                                   -                 -    -                                                                                                                                   6,000
                                                                                                                                                                                                                                                           ™              —            """                   r-
iTunneb Bndges & Terminab B03              CB03-259 - PRIORTTY STRUCTURAL REHBABIUTATION                                  SGR        P                                                                            -•-—f—                                                                                                          241                       396                1,852          2,489
ITunnels Bridges & Terminals B03           CB03-260' - PAVEMENT REHABILHAnON PROGRAM                                      SGR        P                                                                    293                     530              3,359                    3,491                     2,327                                                                                   10,000
iTunnels Bridges S Terminals B03           CB03-261 - WATERSIDE BUFFER ZONE PROTECTION                                    SEC        P                                           202                                            1,034                                                                                                                                                         2.0S7
                                                                                                                                                                                        L                 ^^^                                        - L                                                 -
iTunnels Bridges & Terminals B03           CB03-262 - TOLL COLLECTION SYSTEM REPLACEMENT                                  SQI        4                3,283                    2,810                   1,520                  10,552               3,141                    3,278                                                                                                            24,583
ITunnels Bridges B. Terminals B03          CB03-263 - TBST IMTEROPERABILnY RADIO COMMUNICATION                            SEC        P                                           302                   1,193                    1.502              2.505 j ^ l , 5 7 1
                                                                                                                                                                                                                                                                                                         -                                                                                    7,074
(Tunnels Bridges ft Terminals B03          CB03-265 - UPGRADE 8 REHABlLTrAnON OF DATA ROOMS                                SEP       P
                                                                                                                                                                                                                                                                                                         -
Tunnels Bridges ft Terminals Ba3          CB03-266 - PUBUC SAFETY 800 MHZ EDACS SIMULCAST TRUNK                           SEC        P
                                                                                                                                                                                  -75                  i',46S
                                                                                                                                                                                                                                   -                                                                     -                                                                                    1,539
                                                                                                                                                                                                                                                     •     !

Tunnels Bridges S Terminals B03           C803-TBD - PULASiCI SKYWAY INFRASTRUCTURE                                       SGR        P                                     164,000                 200,000                  210,000
                                                                                                                                                                                                                                   -             260,000                235,000
                                                                                                                                                                                                                                                                                                         -                                                                                 1,069,000
Tunnels Bridges 8 Terminals BOS           CB03-TBD - ROUTE 189T NEW ROAO INFRASTRUCTURE                                   SGR        P                                         5,000                  18,000                                      25.000                  28,000                                                                                                             76,000
Tun neb Bridges 8 Terminals Ba3           ra03-TBD - ROUTE 7 wmPENN BRIDGE INFRASTRUCTURE                                 SGR        P                                     174,000                  135,000                 166,000
                                                                                                                                                                                                                                   '              90.000                  90,000
                                                                                                                                                                                                                                                                                                         -                                                                                  655,000
                                BO 3 Totl1                                                                                                        39,967                 401,606                 429,129                  454,527              437,936                333,227                     22,943                    20,113                   36,202               129,906        2,356,556
Tunnels Bridges 8 Terminals BIM           |CB04-014 - CMWP - GWB-CAPFTAL MAKJR WORK OUTER YEARS                           SGR        P                  433                      200                   1,567                    1,667              1,567                    1,667                     1,667                     1.667                     1,667               2,300          14,602
Tunnels Bridges 8 Terminals B04           CS04-132 - REHAB OF STRUCTURAL STEEL, REMOVAL OF LEAD                           SGR        2                   119                   1,927                   2,434                   4,241               4,162                    8,067                    8,252                     8,056                    18,447               21,244          76.&49
Tunnels BrWges 8 Terminals 604            CB04-133 - Rehab ol Stmttural Sleel ft RECOAT BUS TURNAROU                      SGR        1                   361                     930                   3,179                    2,620              2,781                    2,268                                                                                                            12,139
Tunnels Bndges 8 Terminab B04             CBCM-161 - PIP TO LOWER L£VEL CONNECTOR RAMP                                    SEP        2
                                                                                                                                                                                                                                                                                                         -                                                  930
                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                              3,090           4,020
Tunnels Bridges 8 Temiinals B04          1 CBCW-165 - LEAD REMOVAL/RECOATING NY/NJ ANCHORAGE                              SGR        4                   571
                                                                                                                                                                                 -                                                                                                                                                                                                              S71
Tunnels Bridges ft Temiinals B04          CB(M-193 - CMWP - MY ANCHORAGE ACCESS STAIR AND CATW»                           SGR        4                   114
                                                                                                                                                                                 -
                                                                                                                                                                                 250
                                                                                                                                                                                                          -
                                                                                                                                                                                                          843                     452
                                                                                                                                                                                                                                                                                                                                                                                -             1.659
Tunnete BrWges 8 Terminals B04            C3IX-207 - SUSPENDER ROPE REPLACEMENT AND MAIN CABIE                            SGR        1                1,485                   3,755                    7,024
                                                                                                                                                                                                                                                                                                         -                                                  -                   -            12,264
jTunnels Bridges ft Terminals 004         CB(M-!19 - REHAB N)AB HVAC SYSTEM                                               SGR        2                   807                     633                      765                  4,625               4,800
                                                                                                                                                                                                                                                                                                         -                                                  -                                11.630
^Tunnels Bridges ft Terminals B04         CB04-321 - RECOAT RAMP U1,LX2 8 LL 1-9S RAMPS 38.4                              SGR        4                1,134                                                                                                                                                                                                                                    1,134
iTunneb BrWges 8 Terminals B04            CB04-222 - RECOAT NORTH 8 SOUTH BUS PARKING BRIDGE                              SGR        P
                                                                                                                                                                                 -                                                219                308                       791                    1,651                     1.033
                                                                                                                                                                                                                                                                                                                                                                                -             4,002
iTunneb Bridges ft Terminals B04          CB(>4-233 - STRUCTURAL STEEL REHABIUTATION AND RECOAT                           SGR        P
                                                                                                                                                        -                        -                        246                     346               994                     2,365                     1,049                                                                                   5,001
|Tunnefc Bridges 5 Terminab B04           CB04-724 - STRUCTURAL STEEL REhABlLnATION AND RECOAT                            SGR        P
                                                                                                                                                        -                        -                        250                     350              1,000                    2,400                     1,000
                                                                                                                                                                                                                                                                                                                                                                                -             5,000
[Tunneb Bridges ft Tetminab BW            CBIM-228 - REHABILTTATION OF MAIN SPAN RRE STANDPIPE S                          SGR        3
                                                                                                                                                        -
                                                                                                                                                        442
                                                                                                                                                                                 -
                                                                                                                                                                               1,395                   3,587                    3.930              4,749
                                                                                                                                                                                                                                                                                                                                                                                -            14,202
Tunneb Bridges ft Tetminab B04            CB04-229 - REPLACEMENT OF LIGHTING ALONG RUX RAMPS                              SGR        P                                                                                                                                          93
                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                         126                    1,155                       638                               2,012
Tunneis Bridges 6 Terminab B04            C804-241 - Nl/NY HIGH TENSION ELECT SWITCHGEAR REH                              SGR        1
                                                                                                                                                        -308
                                                                                                                                                                                  -
                                                                                                                                                                                 790                   3,331                   4,565               5,193
                                                                                                                                                                                                                                                                                                                                                                                 -           14,186
Tun neb Bndges ft Terminab B04            CB04-3S2 - NJ ANCHORAGE - DRAINAGE REHAB.                                       SGR        P                                           214                   1,011                    1,488              1,796                    2,110                    2,137
                                                                                                                                                                                                                                                                                                                                                                                 -            8,756
Tunneb Bridges ft Terminab B04            CB(M-2S8 - FORT LEE STREET IMPROVEMENTS                                         SGR        4
                                                                                                                                                        -
                                                                                                                                                        658                   2.179
                                                                                                                                                                                                                                                                                                                                                                                -             2,837
Tunneb Bridges S Terminab 804             CB04-J60 - TOLL COli£CnON SYSTEM REPLACEMENT                                    SGR        4              (5.260)                   5.958                  15,366
                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                              12,193               7,412                    5,770
                                                                                                                                                                                                                                                                                                                                                           -                    -            41,449
Tunneb Bridges 8 Terminab B04             CB(}4-36i - REHAB. OF UPPER LEVEL SPAN OVER NJ ANCHORAG                         SGR        2                  682                    1,012                   2,377                   6,672               6,025                    8,359
                                                                                                                                                                                                                                                                                                                                                           -                    -            25,127
Tunneb Bridges ft Terminab B04            CB04-262 - REPLACEMENT OF IMPACT ATTENUATORS GUIDE W                            SGR        3                  360                   1,213                    4,961                   6,340
                                                                                                                                                                                                                                                                                                                                  -                        -                    -            12,874
Tunneb Bridges ft Terminab B04            Ce04-363 - TRANS MANHATTAN EXPRESSWAY REHABILITATIOI                            SGR        P                                                                                                              246                       556
                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                      1,705                    5,477
                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                         9,726
                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                              9,951          27,671
Tunneb Bridges S Terminals 804            CB04-370 - MAIN SPAN UPPER LEVEL STRUCTURAL STIEL REHA                          SGR        4              20,245
                                                                                                                                                                               -
                                                                                                                                                                            26,413                   28,531                   35,011              26,734                                                                                                                                    137,935
Tunneb Bridges 8 Terminab B04             CB04-372 - REHAB OF NY/NJ ANCHOR MAIN CABLE STRANDS                             SGR        2                  448                      911                   2,532                   4,249               7,347                    8,760                   11,279
                                                                                                                                                                                                                                                                                                                                                          -                                  35,527
Tunneb Bridges & Terminab B04             CB04-276 - REHABIUTAnON 178TH ft 179TH STREET RAMP Df                           SGR        2                  689                    1,043                   1,721                   9,524              10,239                  19,912                    17,895                   18,424
                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                       33,333
                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                             31,583         144,364
Tunneb Bridges 6. Terminab B04            CB04-28S - REHABILFTATION OF THE PIP HELIX                                      SGR        1                  529                    1,026                   1,436                    1,084              7,073                    9,404                   10,077                     9,220                                                         39,849
                                                                                                                                                                                                                                                                                                                                                                                -

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                                                                                                                                 ($ in thousands)

   • f.i Department—,a_-'    F«(ijt¥[s   r._     •' ^T~Jh:-   ^ProJedTtae ^ . •••;-«-, . - - ' ^ ^        Category    Stage       ••-,..2011V"f   = . j \ 2 0 1 2 ; » . ••s,-, 2013i^-   - . . . I D 1 4 » - . r - - 2 0 1 5 S - i i . . 2016 ^   ._->2017™<f      201B-'- .       -, -.2019 i '   ..,   •2020-;       2011-2020 .
Tunneb Bridges 9i Terminab B08       CB08-083 TOllBOOTH MECHANICAL SYSTEM REHABIUTATIOT                        SGR       P                  -                 499               1,997             2,998               3,145                                                                                                  8,638
Tunnels Bridges 8 Terminab BOS       CBOa-091 CMWP - INSTALLATION OF BACKFLOW PREVEPniRS                     MAND        4                  177                199                                                                                                                                                            376
                                                                                                                                                                                                                                                                                                                   -
Tunneb Bridges a Terminab 808       iCB08-093     CMWP - INSTALLATION AND REHABILFTAnON OF R                   SGR       4                 483                                                                                                                                                                                483
                                                                                                                                                                                                                        -                         —"r- — - - •
Tunneb Bridges 8 T«mlnab BOB        ^'CB08-O96 TOll PIAZA - PAVEMENT REPLACEMENT                       """""   SGR"                          47               200                 297               506               1.699               1,313                                                                              4,062
                                                                                                                                                                                                                                                                                                                   -
Tunneb Bridges 8 Terminab BOB       ^CB08-097 CCTV CAMERA SYSTEM REPLACEMENT                                   SEC       3                  177               229               1,383             2.144                                                                                                                      3,932
                                                                                                                                                                                                                        -                    -            -                                                        -
Tunneb Bridges 8 Terminab 808       |CB08-098 CMWP - OBX - HAZMAT SHEDS REPLACEMENT                          MAND        3                  1S5               593                 465                                                                                                                                        1,213
                                                                                                                                                                                                                                                          -                                                        -
Tunnels Bridges 8 Terminab BOB      |CB08-099     OBX - PRIORITY STEEL REPAIR                                  SGR       3                   77             1,493               4,884             4,971                                                                                                                     11,424
                                                                                                                                                                                                                                                          -              -                                         -
Tun nets Bridges 8 Terminals BOB    JCBO8-102     REPLACEMENT OF ROOF AT TOLL BUILDING                         SGR       P                                     199                298               501               i.odb                 999                                                                              2,997
                                                                                                                                                                                                                                                          -                                                        -
Tunneb Bridges 8 Terminab 808       ^CBOa-103     REPLACEMENT OF TOLLHOUSE BOILERS                             SGR       P                                     199                300               750"                998                 749                                                                              2,996
                                                                                                                                            -                                                                                                                                                                      -
Tunneb Bridges 8 Termlr^ab 308      'cB08-104     PRIORTTY STRUCTURAL REHABILnATlON                            SGR       P                                                                                                                                499           752                4,997              5,001         12,250
                                                                                                                                                               -                                    -                                        -
Tunneb Bridges 8 Terminab    BOS     CBOa-107     PAVEMENT REHABILITATION                                      SGR       P                                    251                 750             2,998               4,997               3,501         2,700                                                               15,196
                                                                                                                                                                                                                                                                ____._^,1_J                                        -
Tunnels Bridges 8 Terminab   BOB     CBOB-109 MAIN SPAN PIER PROTECTION                                        SEC       P                                    254                 745             2,993               4,995               3,985                                                                             12,974
                                                                                                                                                                                                                                                          -
Tunneb Bridges 8 Terminab    BOB     iCBOa-llO    TOLL COLLECTION SYSTEM REPLACEMENT                           SGR       4                1,740             1,461               2,095             4,138               1,679               1,910                                                                             13,012
Tunneb Brirlges 8 Terminab   BOS     !CB08-111   CMWP - INSTALLATION OF VARIABLE SPEED LIMIT                   SEP       3                  50                 108                 108                                                                                                                                         266
                                                                                                                                                                                                    -
Tunnels Bridges 8 Terminab   B08     -0308-112   CMWP - REPLACEMENT OF ROOFING MEMBRANE AT                     SGR       1                   24               246               1,171                                                                                                                                        1,441
                                                                                                                                                                                                                                                                         -
                             Boa Total                                                                1                                  3,030             7,441             16,160            23,(155             20,180              14,639          6,023         5,894               24,267              30,902       152,190
Tunneb Bridget 8 Terminab B48       SCB484)01 CMWP - GWBBS- OUTER YEARS                                        SGR       P                  100                150              1,667             1,667               1,667               1,667         1,667          1,667               1,667               1,667        13,586
Tunneb Bridges 8 Terminab B48       ;CB48-008     UPGRADE OF FIRE ALARM SYSTEM                                 SGR       4                 358                  25                                                                                                                                                            384
Tunneb Bridges 8 Terminab B48       :Ca484M8 CEILING REPLACEMENT OVER TME                                      SGR       P                                                                                                                               400           1,5W                3,000              5,100         10,000
                                                                                                                                                               -                                                        -
Tunneb Bridges 8 Terminab 348        ;CB48-056 GWBBS DEVELOPMENT                                               RPP       1                9,281            34,304        32,802                   3,355                                                                  -     1                                            79,741
                                                                                                                                                                                                                                         ™™.                                       —^—r™" —              T     "
Tunneb Bridges ft Terminab 348      iCB4B-060 STRUCTURAL REHASmTATiON OF NORTTi ft'sOUTp ' " ™ ' * ' S G R '                                                   182 ™~"™~~™B49"*                   1,773    "~~™T250'
Tunneb Bridges 8 Terminab 348       |CB48-061 INSTALLATION OF BOLLARDS                                         SEC       P                                    254               1.256             2,999                 601                                                                                                  5,110
                                                                                                                                                                                                                                                                         -
                             B48 Total                                                                                                   9,739           34,916              36,574             9,794                7,sia               1,667         2,067         3,167                4,667               6,767       116,875
Tunneb Bridges ft Terminab T06      ;CT06-018 CMWP - PABT- OUTER YEARS                                         SGR       P                 275              1,000               1,667             1,867               1,767               1,667         1,567          1,667               1,667               1,667        14,911
Tunneb Bridges ft Terminab T06       CT06-059 REHAB. ENa'oSED PULL THROUGH PLATFORMS                           SGR       4                2,474               476                                                                                                                                                            2,951
                                                                                                                                                                                                                        -                                                -
Tunneb Bridges ft Terminab   m      - CT06-120    BUILDING AUTOMATED MONITORING ft CONTROL S                   SGR       4                7,512             7,812               6,422             2,650                                                                                                                     24,396
Tunnels Bndges & Terminab T06       ^CT06-161 PABT-ADA GATI MOOIRCATIONS                                     MAND        4                 277                                                                                                                                                                                277
                                                                                                                                                               -                                                        -                                                -
Tunneb Bridges 8 Terminab jT06      ;CT06-166     INSTALL ADD'L SMOI<E DETECTOR SYSTEM                       MAND        -1               2,458               514                                                                                                                                                            2,972
                                                                                                                                                                                   -                                                                                                         -
Tunneb Bridges 8 Terminab T06        CT06-181 REPLMT OF EXHAUST FANS 19, 70 ft 71                              SGR       4                1,287               484                                                                                                                          J__ I                             1,772
                                                                                                                              '         --™Y
                                                                                                                                                                                                                        -
Tunneb Bridges 8 Terminals T06       CT06-195     SEISMIC RETROFIT                                           MAND                                                                                                                                                                                                            1,481
                                                                                                                                                                                                                        -                                                                    -
Tunneb Bridges ft Terminab T06      [CT06-196     PABT- SW THIRD a . WEARING COURSE REPLACEM                   SGR       4                2,598             3,149                                                                                         •                                                                  5,747
                                                                                                                                                                                                                                             -
Tunneb Bridges 8 Terminab T06       iCT06-199 REPLACEMEHT OF RRE PUMPS                                         SGR       3                 626              1,275               3.088             4,744                                                                                                                      9.735
Tunneb Bridges 8 Terminab T06       .CTO6-20O INSTALLATION OF RRE ALARM VOICE EVACUATION                       SGR       3                 491                699                 804             2,638               3,536               3,829         5,674                                                               17,670
Tunneb Bridges 8 Terminab T06       ;CT06-202     REPLACE PRIMARY ELECTRIC SERVICE PHASE I                     SGR       3                 445              1,120               6,852             7,597               2,299                                                                                                 18,313
                                                                                                                                                                                                                                                          -                                  -
Tunneb Bridges 8 Terminab T06       [CT06-203     REPLACE SIGNAGE SYSTEM                                       SGR       P                                                        526               810                 83S               3,540         4,201           693                3,343                            13,952
Tunneb Bridges 8 Terminab T06       icTO&-212 REHABILTTATION OF NW ESCALATORS                                  SGR       P                                                                          300                 600               1,000         2,000          1,000                 500                             5,401
                                                                                                                                                                                   -
Tunneb Bridges 8 Terminab T06       ;CT06-220 PUBLIC RESTROOMS                                                 SGR       P                                                        300               700               2,500               2,500                                                                              6,001
                                                                                                                                            -
Tunneb Bridges ft Terminals T06     -^06-22 2 PABT BOLLARDS (SECURITY PROJECT^                                           4                 S17                                                                                                                                                                                517
Tunneb Bridges ft Terminab   T06     ;CT06-230   SOUTH WING REPIACEMENT OF HVAC UNFTS ANO A
                                                                                           L™-J!S
                                                                                              SGR                        3                1,210             4,489               7,984 fa™_™„ 8,194                    8,391               8,762        11,553                                                               50,582
Tunneb Bridges ft Teiminab jT06     !CTO&-235    CONCRETE REHABILITATION                                       S6H       4                 789                                                                                                                                                                                789
                                                                                                                                                                                   -                                                                      -
Tunneb Bridges ft Terminab T06      [CT06-236 AIR RIGHTS DEVELOPMENT                                           RPP       P                                    994               5,052           21,938              21,938                5,202                                                                             55,124




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                                                                                                                             The Port Authority of New York and New Jersey
                                                                                                                2011-2020 Spending Schedule - I n t e r s t a t e Transportation Network - 1 0 / 2 7 / 1 1
                                                                                                                                             ($ in thousands)

                                    Fadlitvl                             ;. Project Title ;,                           Category   Stage   'n   2011^                         2013*      "2014J
Tunneb Bridges ft Termmab                       iCT06-239 - PABT Intemal Structural Security Enhancements                                                                                             3,227       11,267        17,308                   10,601                   56,011
Tunneb Bridges ft Terminab                      !CT06-243 - CMWP - REPLACEMENT OF MEDECO KEY SYSTEM
Tunneb BrWges ft Terminab                      TCT06-244 - CMWP - UTILITY CONNECTION TO BAMCS                                                                                                                                                                                         82
Tunneb Bridges ft Terminab                      Tcn6-24'5"-'pABTTcTv" ENHANCS4ENTS 'AND'EXPANSION (Repkl                                           1,190          4,S62                                                                                                            5,e"iT
Tunnels Bridges ft Terminab                     'CT06-246 - PABT ACCESS CONTROL SYSTEM ENHANCEMENT                                                                              1,907                                                                                              5.039
Tunneb Bridges ft Terminab                      ICT06-247 - CMWP--REHABILFTATTON Of THE STEAM OISTRIB:
Tunneb Bridges ft Terminab                      !CT06-24S - FACADE IMPROVEMENTS - ENTRANCE CANOPIES PA                     SGR                     2,207                                                                                                                           2,207
Tunneb Bridges ft Terminab                     " f c f ' o & i ' i ^ - FACADE IMPROVEMENTS-^'EXTERroS's^OFFrTS s I c       'sGR                                                                                                                                                    'i,'s50
Tunneb Bridges ft Terminab T06"            " '1'CT06-250"'"FACAD£ IMPROVEMENTS - TRUSS'pAINnNG"                                                    6,009                                                                                                                           7,229
Tunneb Bridges ft Terminab                      ICT06-255 - INTERNAL REVnAL!ZATll3N                                                                                                         2,500     2,500        2,500         3,000         3,000      5,000                   28,000
Tunneb Bridges ft Terminab                                  - RAMP AND HEIGHT MODIFICATIONS                                                                                                  753                   1,815         2.2S6
                                                           ^TioRTH WING'sBlTwEARING'COURSE REPLACEMEr.                                                                                     "Xsoe                   1,005
Tunnels Bridges ft Terminab                                 -CONCRETE REHABILITATION                                                                                                                                                                      5,550
Tunneb Bridges ft Terminab T06                   CT06-251 - REPLACEMENT IDF VENHLATION BUILDING EXHAUS^i                                                                                                                         1,249         1,512      3,427                   15,010
Tunneb Bridges ft Terminab T06                  ICT05-263 - REPIACEMENT OF STEAM DISTRIBUTION SYSTEM - j                                                                                                          2,015          2.015                                             6.068
Tunnels Bridges 8 Terminab T06                  :CT06-266 - PUBLIC SAFETY 800 MHZ EDACS SIMULCAST TRUNK                                                                         1,864
                                                                                                                                                 34,667                       41,586      62,674    50,518
Tunnels Bridges 8 Terminals Total                                                                                                               187,563                      761,951                          1,023,867
                                                 CH02-006 - HOBOiCEN PERMANENT FERRY TERMINAL                                                      9,777
                                                 CH02-016 - AIRPORT LANDINGS                                                                                      2,124         3,292       3,457     2,567       2,696                                                           14,136
                                                                                                                                                  9,777          27124         3^292                              2,'696                                                         23^913°
Ferries Total                                                                                                                                                   'XT24'                    •X457                                                                                  23,913
Capital Infrastructure Fund                     iCF92-O01 - Capital Infrastructure Fund                                                                                                                           15,000       220,125       220,125    220,125                  995.500
                                                                                                                                                                                                                15,000        220,125       220,125    220,125    220,125
Capital I n f r u t i u c t u t e Fund Total                                                                                                    100,000                                                         15,000        220,135       220,125    220,125    220,125       995,500
Interstate Ttampottatkin Network Total                                                                                                         "699/914"   »   9S2,S82    i 1,094,644                                      S 1,269,190   S 1,063,S9B                        $ 10785,696'




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                                 The Port Authoritj' of New York and New Jersey
                                    Interstate Transportation Network (ITN)
                                Summary of Cash Flows - Actual and Projected Data
                                                  (S in Millions)

                                                                                    Projected Data
                                                                                Financing Alternative
                                                                              Cash             50% Cash
                                                      Actual                  Basis            50% Debt
                                                     2007-2010              2011-2020          2011-2020
         Operations
         Revenues                                           $4,188.2           $20,176.5              $20,176.5
         Operating Expenses                                  2,995.3             8,687.6                8,687.6
     (1) Net Operating Revenues                              1,192.9            11,488.9               11,488.9

         Capital Paid with Cash
         Capital Paid with Cash                               535.6              10,785.7               5,392.8
          Less: Grants                                        (88.9)                (99.1)                (99.1)
     (2) Net Capital Paid with Cash                           446.6              10.686.6               5.293.7

     (3) Cash Balance                                          746.3               802.3                6,195.2

          Debt Service
         Current Interest Payments                             947.8             2,322.1                2,322.1
         Current Principal Payments                            343.4             1,201.3                1,201.3
         Debt Service on New Debt                                -                   -                  2,050.8
         GB DBFM Payments                                        -                 253.0                  253.0
     (4) Total Debt Service Payments                         1,291.2             3,776.4                5,827.1

          Reserve Requirement                           •
          Net Impact to General Reserve Fund                    91.1               (120.1)               419.2

     (5) ITN Cash flows                                      (S636.0)          ($2,853.9)                ($51.1)




          (1) Net Operating Revenues - defined as revenues from operations less operating expenses.
          (2) Net Capital Paid with Cash - defined as the amount of capital expenditures paid from
             Net Operating Revenues less amounts received from federal and state grants.
          (3) Cash Balance - defined as net operating revenues less net capital paid with cash.
          (4) GB DBFM Payments - defined as Goethals Bridge Design, Build, Finance and Maintain
              and reflects availability payments for the Public-Private-Partnership to replace
              the Goethals Bridge.
          (5) ITN Cash Flows - defined as Cash Balance less Total Debt Service Payments
              less Net Impact to General Reserve Fund.




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                                                  The Port Authorily of New YorkantI New .Jersey
                                                     Interstate Transportation Network (ITN)
                                                  Summarj- of Ca.sh Flows - 2007 - 2010 Actual Data
                                                                   {% in Millions)


                                                               Actual         Actual        Actual       Actual        Actual
                                                                2007           2008          2009         2010       2007-2010
            Revenues from Onerations
            Holland Tunnel                                        $87.2        $115.0         $120.3      $125.9        $448.4
            Lincoln Tunnel                                        117.8         153.5           154.6       152.9         578.9
            GWB& Bus Station                                      326.4         439.0           445,5       435,9       1,646.8
            Bayonne Bridge                                         22.2          28,0            27.4        28,3         105.9
            Goelhals Bridge                                        85.3         117.4           120.1       123.3         446.1
            Outerbridge Crossing                                   79,9         105.9           108,4       109,2         403,4
            P.A. Bus Terminal                                      31.8          32.5            33.0        34,4         131,7
            Subtotal -Tunnels, Bridges & Terminals                750.6         991.4         1,009.3     1,009.9       3,761.2


            PATH                                                   97.0          108.4         103.7        107.2         416.2
            Journal Square Transpiration Center                     2,4            2.7           2.4          2.5          10.0
            Subtotal - PATH                                        99.4          lil.l         106.1        109.7         426.3

            Ferry Transportation                                    0.2            0.2            0.1         0.2           0.7
            Access to Regions Core / Capital
            Infra-structure Fund

             Revenues                                             850.2        1,102.7        1,115.5     1,119.8       4,188.2
            Operating Expenses
            Holland Tunnel                                         70.5           67.5          68.8        68.7           275.5
            Lincoln Tunnel                                         93.6           87.9          83.9        91.5           357.0
            GWB& Bus Station                                      113.1          108.1         123.3       108.1          452.7
            Bayonne Bridge                                         18,6           22.2          27.4        23.3            91.6
            Goelhals Bridge                                        25.2           25.1          22.5        25.5            98.4
            Outerbridge Crossing                                   2L3            23.0          21.5        25.4            91.2
            P.A. Bus Terminal                                      93.5          102.7          89.3        95-2           380.6
            Subtotal -Tunnels, Bridges & Terminals                435.8          436.6         436,8       437.8         1,747.0


            PATH                                                  258.6          280.6         291.8       287.3         1,118.4
            Journal Square Transpiration Center                     8.3            9.7           9.0        10.6            37.6
            Subtotal - PATH                                       266.9          290.3         300.9       297.9         1,156.0
             Ferry Transportation                                   5.7            4.5            1.2         1.6           12.9
             Access to Regions Core / Capital                       -              -             -           79.4          79.4
             Infrastructure Fund

             Operating Expenses                                   708.4          731.4         738.8       816.6        2,995.3

             Net Operating Revenues                               141.8          371.3         376.7       303.2         1,192.9

             Capital Paid with Cash
              Capital Paid with Cash                               55.4          185.7         113,6        180.9         535.6
               Less: Grants                                       (15.2)         (12.1)         (8.9)       (52.8)        (88.9)
              Net Capital Paid with Cash                           40.1          173.7         104.7        128.1         446.6

             Cash Balance                                         101.7          197.6         271.9        175.1         746.3

             Debt Service
             Current Interest Payments                            205.2          226.5         246.9       269.2          947.8
             Current Principal Payments                            87.1           83.4          75.0        98.0          343.4
             Debt Service on New Debt
             GB DBFM Payments
             Total Debt Service Payments                          292.3          309.9         321.9       367.2         l,29L2
             Reserve Requirement
             Net Impact to General Reserve Fund                    22.3           26.1           32.5        10.2          91.1

              ITN Cash Flows                                    (S212.9)       {SI38.4)        ($82.4)    ($202.3)      ($636.0)
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                                                                  The Port Authority of New Vork and New Jersey
                                                                     Interstate Transportation Network (ITN)
                                                                SummarjofCash Flows-2011 - 2020 Projected Data
                                                                        Financing Alternative -Cash Basis
                                                                                   (S in Million.s)

                                                                                                                                                                 Total
                                                                                                                                                               Projected
                                            2011      2012           2013         2014          2015       2016      2017      2018       2019      2020      2011-2020
Revenues from Operations
Holland Tunnel                              $139.4    S172.5         $187.9       $202.0        $220-8     $238,6     $240.2    $256,4     $262,6   $265.5       $2,185.8
Lincoln Tunnel                                173.4     218.4          240.0        260.5         285.4      309.3     311.3     331.6      340.2     344.5       2.814,6
o w e & Bus Station                          491,0      627.1          697.0        765.1         845.8      923.4     927.8     987.1    1,012.1   1.026.8       8.303,3
Bayonne Bridge                                 30.8      36,8           4L0          44.9          49.8       54.3      54.5      57.9       59.4      60.3         489,6
Goethals Bridge                               125,6     151.7          168,7        184.7         204.5      223.3     224.4     238.3      244.1     247.8       2.013,0
Outerbridge Crossing                          119.4     143,5          158,6        172.7         190,6      207.3     208.3     221.9      227.2     230.2       i.879,7
P.A. Bus Tcmiinal                              35,2      35-7           38.3         42.0          42.9       43.7      44.6      45.5       46.4      47.3         421.6
Subtotal -Tunnels, Bridges & Terminals      1,114.8   l,38.v7        1,531.3      1,671-9       1,839,9    1,999,9   2,011.1   2,138,6    2.191.9   2,222.5      18,107.6


PATH                                         117,4     137,7           157.4        178.4        196.3      216.5     232.2     249.1      265.3     281.6        2,031,8
Journal Square Transpiration Center            3.2       3.3             3.4          3-5          3,4        3,5       3,6       3.7        3.8       3.9           35.1
Subtotal - PATH                              120.5     141.0           160.8        181.9        199.7      220.0     235-7     252.8 •    269,1     285.5        2.066.9
Ferry Transportation                           0,2        0,2            0.2          0.2           0.2        0.2       0.2       0.2        0.2       0.2           2.0
Access to Regions Core / Capital
Infrastructure Fund
Revenues                                    1,235.5   1,526.9        1,692.3      1,854.0       2.039.8    2.220.0   2,247.1   2,391.6    2,461.2   2.508.1     20,176.5
Operatina Expenses
Holland Tunnel                                76.6      80,5            83-8         85.1         86.7       89,0      91.2      93.5       95.9      98.4          880.7
Lincoln Tunnel                                95.8      97.8           102.7        106,5        108,4      111.3     114.0     116.9      119,9     123.1        1,096,4
GWB & Bus Station                            117.4     119.8           126.3        127.7        129.5      133.3     136,5     140.3      144-0     148,2        1,323,0
Bayonne Bridge                                17.8      14.5            15.8         15.4         15.7       16.2      16,6      17.0       17.4      17,9          164.4
Goethals Bridge                               28.0      30.7            29.3         32.6         33,2       34,2      35.0      36.0       36.9      38.0          334.0
Outerbridge Crossing                          25.9      28.0            27.5         29,2         29,6       30.6      31,3      32,2       33,1      34,2          301.6
P.A. Bus Terminal                             98.7     102.9           106.7        108.6        110.5      113.3     116.1     119.1      122-1     125,1        1.123.0
Subtotal -Tunnels, Bridges & Terminals       460.1     474,2           492,0        505,1        513.7      527,9     540.7     555.0      569.3     585.0        5.223,0


PATH                                         289,1     300,0           311,2        320.3        327.2      335.1     343.2     351.5      360,0     368,7        3,306,5
Journal Square Transpiration Center           111       11,7            12,0         12.6         12.9       13.2      13.6      13.9       14.2      14.6          129.8
Subtotal - PATH                              300.3     311,7           323.2        333,0        340.1      348.3     356.8     365.4      374,3     383,3        3,436.3
Ferr\' Transportation                          2.6       4.5             5.2          2.1           2.2        2.2       2.3       2.3        2.4       2.5          28.3
Access to Regions Core / Capital               -         -               -            -            -          -         -         -          -         -             -
infrastructure Fund
                                                                                                                                                                            Case 1:11-cv-06746-RKE-HBP Document 151-5 Filed 08/21/15 Page 30 of 48




Operating E.xpenses                          763.0     790.3           820.4        840.2        856.0      878.4     899.8     922.7      945.9     970.8        8,687.6

Net Operating Revenues                       472.6     736.5           871.9      1,013.7       1.183.7    1,341.6   1.347.3   1.468.9    1,515.3   1,537.4      11,488.9

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                                                                   The Port Authority of New Vork and New Jersey
                                                                       Interstate Transportation Network (ITN)
                                                                  SummarvofCash Flows-2011 - 2020 Projected Data
                                                                          Financing .Alternative - Cash Basis
                                                                                     (S in Millions)

                                                                                                                                                                      Total
                                                                                                                                                                    Projected
                                            2011       2012            2013        2014           2015       2016       2017       2018       2019       2020       2011-2020

 Net Operating Revenues                      472.6      736.5            871.9      1,013.7       1,183.7    1,341.6    1,347.3    1,468.9    1,515.3    1,537.4      11,488.9

 Capiia! Paid with Cash
 Capital Paid with Cash                      699.9      982,9          1,094,6      1.227.7       1,266.2    1,415.1    1,289.2    1,063,9     923.8      822,4        10.785.7
   Less: Grants                              (34.3)     (31.5)           (28,0)        (5.3)          -          -          -         -          -          -             (99.1)
 Net Capital Paid with Cash                  665.6      951.4          1,066.6      1,222.4       1,266,2    1,415.1    1,289.2    1,063.9     923.8      822.4        10,686.6

 Cash Balance                                (193.0)    (214.9)         (194.7)      (208.7)        (82,4)     (73.5)      58.1     405.0      59L5       714.9          802.3
 Debt Ser\'ice
 Current interest Payments                   251,1      247.9            244.2        240.6        236.0      231-4      226.6      221.0      214.8      208.5         2.322.1
 Current Principal Payments                  106.8      105.8            107.8        104,3        113,5      110.3      116.1      139.5      141,3      155,9         1.201.3
 Debt Service on New Debt                       -          -               -            -             -          -          -         -          -          -                 -
 GB DBFM Payments                               -          -               -            -             -          -        19,0       77.0       78.0       79.0           253,0
 Total Debt Service Payments                 357-9      353,7            352.0        344.9        349.5      341.6      361.7      437,5      434,1      443,4         3.776.4
 Reserve Requirement
 Net Impact to General Reserve Fund           (10.7)     (10.6)          (10.8)       (10.4)        (11.3)     (ILO)      (11.6)     (13.9)     (14.1)     (15.6)        (120.1)
 ITN Cash Flows                             ($540.3)   ($558.0)        ($536.0)     (S543.I)      (S420.6)   ($404.1)   ($292.0)   ($18.6)    $171.5     $287.1       ($2,853.9)
                                                                                                                                                                                   Case 1:11-cv-06746-RKE-HBP Document 151-5 Filed 08/21/15 Page 31 of 48




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                                                                      The Port Authority of New \'ork and New Jersey
                                                                          Interstate Transportation Netvvork (ITN)
                                                                    Summary of Cash Flows-2011 -2020 Projected Data
                                                                       Financing Alternative - 50% Cash / 50% Debt
                                                                                        ($inMinions)

                                                                                                                                                                     Total
                                                                                                                                                                   Projected
                                                2011      2012           2013        2014            2015      2016       2017      2018      2019      2020      2011 -2020
 Revenues from Operations
 Holland Tunnel                                 $139.4    $172,5         $187,9       $202.0         $220.8     $238.6    $240.2     $256.4   $262.6    $265.5      $2,185.8
 Lincoln Tunnel                                   173.4     218.4          240.0        260.5          285,4      309.3     311.3     331.6     340.2     344-5      2.814,6
 GWB & Bus Station                                491.0     627.1          697.0        765.1          845-8      923,4     927.8     987.1   1,012.1   1,026.8      8.303,3
 Bayonne Bridge                                    30.8      36.8           41,0         44,9           49,8       54.3      54,5      57.9      59.4      60.3        489,6
 Goethals Bridge                                  125.6     151.7          168.7        184.7          204.5      223.3     224.4     238,3     244.1     247.8      2,013.0
 Outerbridge Crossing                             119,4     143,5          158.6        172.7          190.6      207.3     208.3     221.9     227,2     230,2      1,879.7
 P.A, Bus Tenninal                                 35-2      35.7           38-3         42.0           42,9       43.7      44.6      45.5      46,4      47.3        421,6
 Subtotal -Tunnels. Bridges & Terminals         1.114.8   1,385.7        1,531.3      1,671.9        1,839.9    1,999.9   2,011.1   2.138.6   2,191.9   2,222,5     18,107-6


 PATH                                             117.4     137,7          157.4        178.4          196.3     216.5     232,2     249,1     265.3     281.6       2.031.8
 Journal Square Transpiration Center                3.2       3.3            3,4          3,5            3.4       3.5       3.6       3.7       3.8       3,9          35.1
 Subtotal - PATH                                  120.5     141.0          160-8        181-9          199,7     220.0     235.7     252.8     269.1     285.5       2,066,9
 Ferr\' Transportation                              0.2       0.2            0.2          0.2            0.2        0.2       0,2       0,2       0.2       0.2          2.0
 Access to Regions Core / Capital
 Infrastructure Fund
 Reven ues                                      1,235.5   1.526.9        1,692.3      1.854.0        2,039.8    2,220.0   2,247.1   2,391.6   2,461.2   2,508.1     20,176.5
 Operating Expenses
 Holland Tunnel                                   76.6      80.5           83.8         85.1           86.7       89.0      91.2      93.5      95.9      98.4         880.7
 Lincoln Tunnel                                   95,8      97,8          102.7        106.5          108.4      111.3     114.0     116.9     119.9     123.1       1.096.4
 GWB & Bus Station                               117.4     119.8          126,3        127.7          129.5      133.3     136.5     140.3     144.0     148.2       1.323.0
 Bayonne Bridge                                   17.8      14.5           15,8         15-4           15.7       16.2      16.6      17,0      17,4      17.9         164,4
 Goethals Bridge                                  28.0      30.7           29.3         32.6           33.2       34.2      35.0      36.0      36.9      38.0         334.0
 Outerbridge Crossing                             25,9      28.0           27.5         29.2           29.6       30,6      31.3      32,2      33.1      34.2         301.6
 P.A. Bus Terminal                                98.7     102.9          106.7        108.6          110.5      113.3     116.1     119.1     122-1     125-1       1.123.0
 Subtotal -Tunnels. Bridges & Terminals          460.1     474.2          492.0        505.1          513,7      527.9     540.7     555,0     569.3     585.0       5,223.0


 PATH                                            289.1     300.0          311.2        320.3          327,2      335,1     343,2     351.5     360.0     368.7       3,306.5
 Journal Square Transpiration Center              11.1      11.7           12.0         12.6           12.9       13-2      13.6      13.9      14.2      14.6         129.8
 Subtotal - PATH                                 300.3     311.7          323.2        333.0          340.1      348.3     356.8     365.4     374.3     383,3       3.436.3
 Ferr\' Transportation                             2.6       4.5            5.2           2.1           2,2         2.2       2.3       2.3      2.4        2.5         28.3
 Access to Regions Core / Capital
                                                                                                                                                                               Case 1:11-cv-06746-RKE-HBP Document 151-5 Filed 08/21/15 Page 33 of 48




 Infrastructure Fund
 Operating E.vpenses                             763.0     790.3          820.4        840.2          856.0      878.4     899.8     922.7     945.9     970.8       8,687.6

 Net Operating Revenues                          472.6     736.5          871.9       1,013.7        1,183.7    1,341.6   1,347.3   1,468.9   1,515.3   1,537.4     11,488.9
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                                                                    The Port Authority of New Vork and New Jersey
                                                                        Interstate Transportation Network (ITN)
                                                                  Summary of Cash Flows- 2011 -2020 Projected Data
                                                                     Financing Alternative - 5 0 % C a s h / 5 0 % Debt
                                                                                      ($ in Millions)

                                                                                                                                                                       Total
                                                                                                                                                                      Projected
                                            2011       2012            2013          2014            2015         2016       2017      2018      2019      2020      2011-2020

 Net Operating Revenues                      472.6      736.5            871.9        1,013.7        1,183.7      1,341.6    1,347.3   1,468.9   1,515.3   1,537.4      11,488.9

 Capital Paid with Cash
 Capital Paid with Cash                      350.0      491.4            547.3         613-9          633-1         707,6     644,6     531.9     461.9     411.2        5,392,8
   Less: Grants                              (34,3)     (31,5)           (28.0)         (5.3)            -            -         -         -         -         -            (99.1)
 Net Capital Paid with Cash                  315.7      459.9            519.3         608.6          633.1         707.6     644.6     531,9     461,9     411.2        5,293.7

 Cash Balance                                 156,9     276.6            352.6         405,2          550.7         634.1     702,7     936-9    1,053.4   1.126.2       6,195.2
 Debt Scr\ice
 Current Interest Pajmenis                    251.1     247.9            244.2         240,6          236.0         231.4     226.6     221.0     214.8     208.5       2,322.1
 Current Principal Payments                   !06,8     105,8            107.8         104.3          113-5         110.3     116.1     139.5     141,3     155.9       1,201,3
 Debt Service on New Debt                      23.5      57.2             94.9         138.1          182.9         232.9     278-5     316.1     348.8     377.9       2,050.8
 GB DBFM Payments                               -          -               -             -               -            -        19-0      77.0      78,0      79.0         253.0
 Total Debt Service Payments                 381.5      410.8            446.9         483,0          532,4         574.5     640,2     753.6     782.9     821,2       5,827,1
 Reserve Requirement
 Net Impact to General Reserve Fund            22.6       37.0            42.6          50,7            52.0         59.7      52.8      39.2      32.1      30.5         419.2
 ITN Cash Flows                             ($247.2)   ($171.3)        ($136.9)      ($128.5)         ($33.7)       ($0.2)     $9.7    $144.1    $238.4    S274.4        ($51.1)
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            Tine Port Authority of New York & New Jersey
            Toll & Fare Proposals
            Boarti Meeting
            August 19, 2011
            New York, New York




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            APPEARANCES

            THE BOARD OF DIRECTORS of the PORT AUTHORITY


            SPEAKERS:
            Michael Fabiano, Chief Financial Officer of the
               Port Authority

            Gary La Barbera, president of the Building and
               Construction Trade Council of Greater New
               York


            Philip Beachem, New Jersey Alliance for Action


            Robert Yaro, President of the Regional Plan Association


            Richard Anderson, president of the New York
               Building Congress


            Brad Hoylman, executive vice president and general
               counsel, The Partnership for New York City


            Margaret Donovan, The Twin Towers Alliance




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            APPEARANCES              CONT'D


            Richard Hughes, The Twin Towers Alliance


            Ricardo R. Kaulessar, resident of Jersey City, NJ


            Michael McGinnis of NAiOP, Commercial Real Estate
               Develoment Association


            Erik-Anders Nilsson, Director of Jersey City Peace
               Movement


            Denise Richardson, Managing Director of the General
               Contractors Association of New York




            Commissioner Lynford
            Commissioner Pocino
            Chairman Samson




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                                                                       Page 4
       1                PROCEEDINGS
       2                *     *        *

       3                New York, New York
       4                *     *    *

       5              CHAIRMAN SAMSON: The Board Meeting
       6        of the Port Authority of New York and New
       7        Jersey and its subsidiaries ~ subsidiaries is
       8        now called to order.
       9              The Commissioners met in executive
      10        session prior to today's board meeting to
      11        discuss matters related to the purchase, sale,
      12        or lease of real property or securities where
      13        disclosure would affect the value thereof or
      14        the public interest.
      15              Today's presentation on proposed
      16        changes to our toll and fare structure for the
      17        Port Authority's vehicular crossings and the
      18        PATH system will be presented by our chief
      19        financial officer, Michael Fabiano.
      20              Mike?
      21              MR. FABIANO: Good morning.
      22        Commissioners. 1 appreciate the opportunity
      23        to present for your approval the new toll and
      24        fare structure for our tunnels, bridges, and
      25         PATH system.


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                                                                           Page 5
       1                But before 1 begin, 1 would just like
       2        to take a second to thank Jim Mackey
       3        [phonetic], who worked closely with me and
       4        executive staff of ~ in both states in
       5        helping to craft this plan. So thank you.
       6        Jim.
       7                Okay. The historic economic
       8        recession has had a dramatic effect on the
       9        Port Authority, and we have lost 2.6 billion
      10        dollars in net revenue from what was projected
      11        when we last set the ten-year capital plan in
      12        2007.
      13                Since 9/11, our annual capita! and
      14        security costs have nearly tripled, and we
      15        have spent approximately 6 billion dollars in
      16        security for our facilities.
      17                Finally, we are investing over 11
      18        billion dollars to rebuild the World Trade
      19        Center site.
      20                At the same time, there's a need to
      21        overhaul our aging facilities, some of which
      22        are over a hundred years old and to build
      23        modern facilities for the future needs.
      24                We ~ we've been ~ like everybody
      25        else, we've been managing in an economic


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       1        downturn. The Port Authority started
       2        cost-cutting management measures going back to
       3        2004. Since 2004, the agency reduced
       4        non-public safety staffing levels by more than
       5        700 positions, or approximately 12 percent.
       6              In addition, we have delivered three
       7        consecutive years of zero-growth operating
       8        budgets. To achieve the zero-growth budgets,
       9        we restructured functions, we leveraged
      10        technologies, and we streamlined business
      11        processes and significantly reduced consultant
      12        services.
      13              But this constrained operating
      14        environment also required us to re-prioritize
      15        and defer millions of dollars in capital
      16        program spending that we had in the pipeline.
      17              In order to maintain and grow the
      18        critical transportation infrastructure that
      19        serves the bi-state region, the toll and fare
      20        increases are essential if the Port Authority
      21        is to have the financial capabilities
      22        necessary to drive this region forward.
      23              As you can see, under this proposal.
      24        developed in consultation with Governors Cuomo
      25        and Christie, and as can be seen on the


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       1        screen, car tolls would be raised 1.50 in
       2        September and 75 cents each December through
       3        2015.
       4 -              Truck tolls would increase 2 dollars
       5        per axle in September and again each December
       6        until 2015.
       7                Cars and trucks not using E-ZPass
       8        would pay a penalty of 2 dollars per car and 3
       9        dollars per truck axle.
      10                We believe this cash penalty will
      11        encourage drivers to move to E-ZPass, which,
      12        in turn, will reduce congestion on our bridges
      13        and tunnels.
      14                Finally, PATH fares will increase 25
      15        cents in September and again in each October
      16        of 2012, '13, and'14.
      17                Taken together, these increases.
      18        modified from the initial proposal put forward
      19        to the Board and public, will assure our
      20        continued financial stability, create tens of
      21        thousands of jobs, and improve our
      22        infrastructure.
      23                As you know, we held a record number
      24        of public hearings with record turnout at nine
      25        locations, including one on line. In


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       1        addition, we received comments via mail and
       2        our Web site.
       3              A public meeting was also added in
       4        Staten Island at the request of the Staten
       5        Island community.
       6              We heard many compelling stories from
       1        a broad spectrum of individuals across the
       8        region. We heard from those who oppose the
       9        plan and we heard from those who support the
      10        plan, including over sixty organizations
      11        representing business, labor, and
      12        environmental groups.
      13              Finally, our Governor has provided
      14        guidance that we used to reach today's
      15        proposal.
      16              Again, these increases are imperative
      17        if we are to accomplish the much-needed
      18        projects to advance the agency's
      19        infrastructure and economic growth mission.
      20             .This toll and fare increase will
      21        allow the Port Authority to invest 25.1
      22        billion dollars in critical infrastructure
      23        projects that will provide an efficient, safe,
      24        and secure transportation network for our
      25        customers who rely on this agency every day.


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       1               This will also allow the agency to
       2         access the capital markets while maintaining
       3         our strong credit ratings and meeting all of
       4         our statutory bond covenants.
       5               This capital plan will also benefit
       6         the region by generating 131,000 new jobs, 7.6
       7         billion dollars in wages, and over 30 billion
       8         dollars in sales.
       9               At our tunnel and bridge facilities.
      10         massive investments are planned to modernize
      11         existing vehicular and bus facilities, some
      12         over 85 years old, which are presently used by
      13         a 120 million vehicles and 3 million bus
      14         movements each year.
      15               As you can see in the side-by-side
      16.        photos, one of the key projects supported by
      17         the tolls increase is raising the roadway at
      18         the Bayonne Bridge, which will accommodate the
      19         largest ships expected to call on the port
      20         with the opening of the expanded Panama Canal.
      21               It is investment in the
      22         competitiveness of our ports, as well as the
      23         230,000 jobs and 25 billion dollars in sales
      24         they generate.
      25               Other key tunnel and bridge needs


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       1        include replacing the Goethals Bridge,
       2        replacing the suspender ropes at the George
       3        Washington Bridge, reconstructing the Lincoln
       4        Tunnel Helix, and rehabilitating roads, decks.
       5        and vital ventilation systems such as those at
       6        the Lincoln Tunnel.
       7              On the PATH system, PATH is the - as
       8        do most rapid transit systems, operates at a
       9        deficit. Unlike other systems, taxes or
      10        federal funds do not subsidize PATH.
      11              This toll and fare increase will
      12        allow us to invest 3 billion dollars to
      13        rebuild and add capacity to a system which is
      14        over one hundred years old, serves nearly 74
      15        million passengers, and is a key transit
      16        system linking New Jersey and New York.
      17              Here we see a photo of the Exchange
      18        Place platform, which has already been
      19        extended to accommodate ten cars, and this is
      20        an example of what we plan to do at other
      21        station platforms along the World Trade
      22        Center/Newark line.
      23              Other major projects at PATH include
      24        completing the new car purchase program, the
      25        signal system replacement program, upgrading


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       1        and replacing the power systems, and enhancing
       2        security systems such as a water management
       3        system, new electrical DUP banks, structural
       4        improvements, and tunnel erosion protection.
       5             At aviation, we will upgrade one of
       6        the busiest airport networks in the world,
       7        which serve over 100 million passengers,
       8        transports more than 2 million tons of cargo,
       9        and supports 455,000 jobs in the region
      10        annually.
      11              Combined, this inter-regional airport
      12        system has 285 miles of roadways, runways, and
      13        taxiways. The runways and taxiways require
      14        regular rehabilitation to ensure FAA
      15        compliance.
      16              Replacement and rehabilitation of
      17        runways and taxiways represent a signif ~
      18        significant portion of the projects to be
      19        undertaken at our airports.
      20              Other priority aviation projects
      21        include the rehabilitation and overhaul of
      22        AirTrain, upgrading utilities and power
      23        systems, improving air-side access controls
      24        for increased facility security, and
      25        installing hardened barriers to protect


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       1        terminals and other airport properties.
       2              Port Commerce Division. To ensure
       3        optimal through-put of goods and to maintain
       4        our competitive position among other ports, we
       5        need to provide passage for megaships in the
       6        future and direct links from docks to rails,
       7        to exceed the current 3 million containers
       8        that we handle annually.
       9              The importance of our ports is
      10        evidenced by the handling of over 175 billion
      11        dollars in cargo and approximately 31 percent
      12        of all East Coast cargo in 2010.
      13              Some 4,800 ship calls came in from
      14        all over the world. This photo shows an
      15        example of our investment in dock-to-rail
      16        through the ExpressRail facilities.
      17              Other projects that will help
      18        maintain the port's competitiveness include
      19        terminal redevelopment, replacement and
      20        rehabilitation of piers, berths, and wharfs.
      21        expanding and enhancing capacity on roadways.
      22        and ensuring only authorized individuals can
      23        access secure areas of the port.
      24              And, finally, the World Trade Center.
      25        We are going to complete the rebuilding of the


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       1        World Trade Center site, including a secure,
       2        state-of-the-art office and retail complex, a
       3        multi-connection transportation hub for
       4        commuters, infrastructure for the 9/11
       5        memorial, the vehicle security center, and all
       6        the remaining site infrastructure.
       7              Commissioners, we recognize the
       8        difficulty of deciding to raise tolls and
       9        fares at this time. However, it is required
      10        to meet critical facility needs now as well as
      11        into the future.
      12              The region depends on the Port
      13        Authority for moving goods and people safely
      14        and reliably.
      15              Over the next four years, the Port
      16        Authority needs to fund approximately 15
      17        billion dollars in capita! spending. Over the
      18        next ten years, 131,000 new jobs will be
      19        created, 7.6 billion dollars in wages will be
      20        generated, and over 30 billion dollars in
      21        sales will be created by our capital
      22        investments.
      23              Commissioners, 1 request your
      24        approval of these items. Thank you.
      25              CHAIRMAN SAMSON: Thank you, Mike.


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